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                                           UNITED STATES BANKRUPTCY COURT
                                           SOUTHERN DISTRICT OF NEW YORK

              In re: BAGBAG, BOAZ                                                             § Case No. 08-12667-AJG
                                                                                              §
                                                                                              §
        Debtor(s)                                                                             §

                                             TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on July 10, 2008. The undersigned trustee was appointed on July 14, 2008.

                  2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.

                  4. The trustee realized the gross receipts of                   $               1,750.04

                                    Funds were disbursed in the following amounts:

                                    Payments made under an
                                      interim distribution                                            0.00
                                    Administrative expenses                                           1.29
                                    Bank service fees                                                50.00
                                    Other payments to creditors                                       0.00
                                    Non-estate funds paid to 3rd Parties                              0.00
                                    Exemptions paid to the debtor                                     0.00
                                    Other payments to the debtor                                      0.00
                                                                        1
                                    Leaving a balance on hand of                  $               1,698.75
       The remaining funds are available for distribution.

                  5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

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               6. The deadline for filing non-governmental claims in this case was 08/12/2009
       and the deadline for filing governmental claims was 01/06/2009. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $437.51. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

               The trustee has received $0.00 as interim compensation and now requests the
       sum of $211.71, for a total compensation of $211.71.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $556.97, for total expenses of
               2
       $556.97.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 10/10/2011                    By:/s/Alan Nisselson, Trustee
                                              Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

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                                                                                                                                                                                       Exhibit A


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                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 08-12667-AJG                                                                     Trustee:          (521090)        Alan Nisselson, Trustee
Case Name:          BAGBAG, BOAZ                                                              Filed (f) or Converted (c): 07/10/08 (f)
                                                                                              §341(a) Meeting Date:             08/14/08
Period Ending: 10/10/11                                                                       Claims Bar Date:                  08/12/09

                                 1                                           2                             3                          4                    5                      6

                      Asset Description                                  Petition/             Estimated Net Value                Property            Sale/Funds           Asset Fully
           (Scheduled And Unscheduled (u) Property)                    Unscheduled        (Value Determined By Trustee,          Abandoned            Received by       Administered (FA)/
                                                                          Values             Less Liens, Exemptions,             OA=§554(a)            the Estate        Gross Value of
Ref. #                                                                                           and Other Costs)                DA=§554(c)                             Remaining Assets

 1         Cash held by Debtor                                                    20.00                           0.00              DA                           0.00                      FA

 2         Security deposit w/ landlord: 304 East 78th Stre                   1,800.00                            0.00              DA                           0.00                      FA

 3         Misc. household goods                                                 475.00                           0.00              DA                           0.00                      FA

 4         Cooking utensils & tableware                                          175.00                           0.00              DA                           0.00                      FA

 5         Misc. household electronics                                           600.00                           0.00              DA                           0.00                      FA

 6         Misc. used clothing                                                   400.00                           0.00              DA                           0.00                      FA

 7         Gold Watch                                                            100.00                           0.00                                       1,750.00                      FA

 8         Loan to Pace Product Solutions, Inc. (08-12666 M                  10,000.00                         7,520.00             DA                           0.00                      FA

 9         Various lawsuits filed by Debtor                                   5,000.00                         5,000.00             DA                           0.00                      FA

10         2005 Cadillac Escalade (200,000 miles) (automobi                   9,825.00                         7,425.00             DA                           0.00                      FA

11         Life Insurance Policy Hanover Insurance Group                           0.00                           0.00              DA                           0.00                      FA

12         Stock held in Pace Product Solutions, Inc.                              0.00                           0.00              DA                           0.00                      FA

13         Stock held in Worldwide Auto Parts, Inc.                                0.00                           0.00              DA                           0.00                      FA
             wholly owned subsdiary of Pace Product Solutions,
           Inc.

14         Stock held in Mazal Hai Auto Parts, Inc.                                0.00                           0.00              DA                           0.00                      FA

15         Stock held in VIP Car Service, Inc.                                     0.00                           0.00              DA                           0.00                      FA

 Int       INTEREST (u)                                                      Unknown                               N/A                                           0.04                 Unknown

 16       Assets         Totals (Excluding unknown values)                  $28,395.00                     $19,945.00                                      $1,750.04                    $0.00



       Major Activities Affecting Case Closing:


                   (I) Procedural Background


                   1.    On July 10, 2008 (the "Petition Date"), Boaz Bagbag (the "Debtor"), filed a voluntary petition for relief under chapter 7, title 11, United States Code, 11 U.S.C. §§
                   101, et seq. (the "Bankruptcy Code").


                   2.    Thereafter, the United States Trustee (the "UST") appointed Alan Nisselson as interim trustee of the Debtor's estate (the "Estate") pursuant to Bankruptcy Code
                   §701 (a). The Trustee qualified and is serving as permanent trustee pursuant to Bankruptcy Code §702 (d).


                   3. Upon application of the Trustee and by Order dated December 10, 2008, Windels Marx was retained as counsel to the Trustee. (Doc. No. 38).


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                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 08-12667-AJG                                                                  Trustee:         (521090)        Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                               Filed (f) or Converted (c): 07/10/08 (f)
                                                                                           §341(a) Meeting Date:            08/14/08
Period Ending: 10/10/11                                                                    Claims Bar Date:                 08/12/09

                              1                                          2                             3                           4                    5                     6

                    Asset Description                                Petition/               Estimated Net Value              Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled          (Value Determined By Trustee,        Abandoned            Received by        Administered (FA)/
                                                                      Values               Less Liens, Exemptions,           OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)              DA=§554(c)                              Remaining Assets


               4. Upon application of the Trustee and by Order dated January 10, 2008, the Trustee was authorized to retain David R. Maltz & Co., Inc. ("Maltz", or, the
               "Auctioneers") as his auctioneers for the purpose of liquidating the Debtor's Rolex watch, more fully discussed below. (Doc. No. 114).


               (II) Funds Collected and Distributed By The Trustee


               5. As of October 6, 2011, the Trustee has collected a total of $1,750.04 comprised of: (i) the proceeds of an auction sale of the Debtor's Rolex watch (described
               below); and (ii) interest in the amount of $0.04.


               6. As of the date of this Application, the Trustee has disbursed a total of $51.29 as follows: (i) $1.29 for the Estate's pro rata share of the Trustee's annual blanket
               bonds; and (ii) $50.00 for bank and technology fees.


               7. As of October 6, 2011, the amount held by the Trustee in his Trustee's accounts for the Debtor's estate is $1,698.75.


               (III) Claims Filed In the Debtor's Case


               8.      Upon request of the Trustee, the Court established August 12, 2009 (the "Bar Date") as the last date for non-Governmental entities to file proofs of claim in the
               Debtor's case. (Doc. Nos. 65, 69 and 71).


               9.       Twenty (20) claims totaling $4,651,875.51 (the "Claims") have been filed in the Debtor's case. As set forth below, the Debtor's estate is administratively
               insolvent and, accordingly, the Trustee reviewed the Claims only to verify the priority claimed.


               (IV) Case Status


               10.     The Trustee has collected and liquidated all assets in the Debtor's estate deemed to have value. There are no pending or unresolved matters in this case in the
               Debtor's case.


               11.     The Trustee has prepared his Final Report and Account (the "TFR").


               12.     Windels Marx and Maltz have prepared their respective applications for final allowance and payment of professional fees and expenses. Windels Marx has
               voluntarily reduced its request for fees from $24,562.50 to $1,000.00.


               13.     Unfortunately, the Debtor's estate is administratively insolvent. The Trustee's commissions and expense and the fees and expenses requested by Windels Marx
               and Maltz (collectively, the "Administrative Professional Claims") far exceed the balance available in the Trustee's accounts.


               14.     In the TFR, the Trustee proposes that the Administrative Expense Claims' holders receive an approximate 48% pro rata distribution and that the Claims' holders
               will not receive a distribution.




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                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 08-12667-AJG                                                                   Trustee:          (521090)         Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                                Filed (f) or Converted (c): 07/10/08 (f)
                                                                                            §341(a) Meeting Date:              08/14/08
Period Ending: 10/10/11                                                                     Claims Bar Date:                   08/12/09

                             1                                             2                             3                           4                     5                      6

                    Asset Description                                 Petition/              Estimated Net Value                 Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                   Unscheduled         (Value Determined By Trustee,           Abandoned            Received by        Administered (FA)/
                                                                       Values              Less Liens, Exemptions,              OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                         and Other Costs)                 DA=§554(c)                              Remaining Assets

               15.     The Estate is ready to be closed.


               (V) Services Provided


               a) The Investigation of the Debtor.


               16. Shortly after the Trustee's appointment, Robert J. Gumenick, Esq., attorney for creditors Roni Abudi, Asher Alcobi, Uzi Evron and Doron Kessel (the "Movants"),
               contacted the Trustee to discuss the Debtor's case and to alert the Trustee to his interest in the case.


               17. On or about August 8, 2008, the UST filed with the Court an application (the "UST Rule 9019 Motion") for approval of a stipulation with the Debtor dismissing this
               chapter 7 case with prejudice for 18 months, based upon the Debtor's failure to file Filing Schedules, and the possibility that the Debtor, while in chapter 7, improperly
               transferred between approximately $10,000 and $15,000 of estate assets to a related corporation called Pace Products Solutions, Inc. ("Pace"), an auto parts retailer
               and a debtor in a converted chapter 7 case pending in this Court under Case No. 08-12666 (MG). The petition commencing the Pace case was filed simultaneously with
               the Debtor's case.


               18. The Debtor failed to appear at his initial section 341(a) meeting of creditors scheduled for August 14, 2008. Since then, the Trustee has adjourned the creditors'
               meeting from time to time. By Order dated September 8, 2008, the Court authorized the Movants to investigate the Debtor's financial affairs by examining the Debtor
               and others under oath and to compel the production of documents. Thereafter, on or about November 18, 2008, the Movants filed a Response to the UST Rule 9019
               Motion, asserting that through their discovery efforts to that date, they uncovered certain irregularities in the Debtor's financial affairs, as well as the existence of
               possible assets. The Movants argued that the Debtor made improper fraudulent and preferential transfers and that additional discovery was necessary.


               19. The Trustee and the Firm had several conversations thereafter with representatives of the UST concerning the UST Rule 9019 Motion and the Response.
               20. The Trustee and the Firm frequently received and reviewed updates from Mr. Gumenick and discussed numerous aspects of the case with him.
               21. On August 6, 2008, the Movants filed an Application under Bankruptcy Rule 2004 (the "Rule 2004 Application") to compel an examination of the Debtor and
               production of documents form the Debtor and related entities. (Doc. No. 10).


               22. As set forth in the Rule 2004 Application, the Debtor was the owner/director of Pace. Pace's case was converted to a chapter 7 case by order of the Hon. Martin
               Glenn dated July 24, 2008. Albert Togut is the Chapter 7 Trustee for Pace.


               23. The Movants were holders of unsecured claims against the Debtor. The Movants alleged that their claims were not dischargeable under Bankruptcy Code §
               523(a)(2) by reason of the misrepresentation, false pretenses and other improper acts of the Debtor. The Movants alleged that the Debtor had secreted or has
               fraudulently transferred assets that may have been available to the Debtor's creditors, including an automobile parts supplier with a place of business in Yonkers, New
               York. The Movants believed that as head of Pace, the Debtor dissipated at least $1,000,000.00 in Pace's assets and receivables, and had as well used corporate
               monies for personal purposes and for gifts to others. The Movants suspected that the same pattern of behavior applied to the Debtor's personal affairs, including
               transfers of his personal investments in real estate that have been transferred to others for what appears to be no consideration, as well of sources of income from real
               estate and other investments that the Debtor had not and would not, absent being under oath, disclose.


               24. On August 8, 2008, Summa Capital Corp. ("Summa") a creditor of the Debtor filed a Joinder to the Rule 2004 Application. (Doc. 15). By Order dated September 8,


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                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 08-12667-AJG                                                                 Trustee:          (521090)        Alan Nisselson, Trustee
Case Name:      BAGBAG, BOAZ                                                              Filed (f) or Converted (c): 07/10/08 (f)
                                                                                          §341(a) Meeting Date:             08/14/08
Period Ending: 10/10/11                                                                   Claims Bar Date:                  08/12/09

                             1                                           2                             3                          4                     5                     6

                    Asset Description                                Petition/             Estimated Net Value                Property            Sale/Funds            Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,          Abandoned            Received by        Administered (FA)/
                                                                      Values             Less Liens, Exemptions,             OA=§554(a)            the Estate         Gross Value of
Ref. #                                                                                       and Other Costs)                DA=§554(c)                              Remaining Assets

               2008, the Rule 2004 Application was granted. (Doc. No. 21).


               25. The Trustee reached an agreement with the Debtor to dismiss his case with prejudice. However, the Movants objected and the Trustee withdrew the agreement.
               26. Thereafter, the Trustee, with the assistance of the Firm participated in the investigation of the Debtor. The Trustee's Firm reviewed the transcripts of Bankruptcy
               Rule 2004 examinations conducted by the Movants and held meetings with Mr. Gumenick to discuss his finds.


               27. During this time, eight (8) stipulations with the Debtor extending the time for the Trustee and the UST to object to the discharge of the Debtor, dischargeability of
               debts, for objection to any claimed exemptions of property of the estate and for dismissal were submitted.


               28. The Movants' investigation of the Debtor continued for over two years, during which time the Trustee, through the Firm regularly conducted discussions with Mr.
               Gumenick, reviewed the progress of the investigation and apprised the Trustee of its findings.
               29. In June
               2010, the Movants and Summa Capital Corp. entered into stipulations with the Debtor, which were approved by the Court, pursuant to which: (i) Evron, Roni Abudi and
               Doron Kessel, jointly and severally, were awarded a judgment against the Debtor in the amount of $229,517.76 plus post-judgment interest (Doc. No. 101); and (ii)
               Summa was awarded a judgment against the Debtor in the amount of $1,212,062.40 plus post-judgment interest (Doc. No. 105).


               30. The Trustee conducted an investigation of the pre-Petition Date transfer of real property and funds from the Debtor to his ex-wife Jacqueline Fay Lewis and her
               minor children Emily Sara Lewis and Noa Michelle Lewis (collectively, the "Lewises"). Among other things, the Firm deposed the Debtor, obtained and reviewed and
               analyzed numerous and voluminous documents, and consulted with Debtor's counsel, Mr. Gumenick and lawyers for other creditors, as well as the Pace chapter 7
               trustee, in an attempt to ascertain whether the estate had any assets and whether the Trustee could assert any grounds to object to the Debtor's discharge.
               31. Unfortunately those investigations did not yield any viable causes of action against the Lewises or the Debtor in the Trustee's opinion. The Trustee consulted with
               the Firm, and concluded that the allegations made about the Debtor having transferred assets without consideration were not actionable, and that no viable grounds to
               object to the Debtor's discharge could be asserted.


               b) The Sale of the Rolex Watch


               32. Despite the extensive investigation of the Debtor, the only asset the Trustee identified and collected for liquidation was the Debtor's Rolex watch (the "Rolex
               Watch").


               33. Upon demand of the UST and the Firm, the Debtor turned over the Rolex Watch to the Trustee so that it could be sold at auction.


               34. As set forth above, upon application of the Trustee and by Order dated May 5, 2011, the Trustee was authorized to retain Maltz as his auctioneer. (Doc. No. 114).


               35. On April 28, 2011, the Trustee served a Notice of Sale through of Debtor's Rolex Watch. Pursuant to the Notice, an auction would be held on May 17, 2011,
               Objections, if any, were due May 16, 2011. No objections were filed. (Doc. No. 113).


               36. On May 26, 2011, Maltz conducted the auction sale of the Rolex Watch, and received the highest and best bid in the sum of $1,750.




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                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 08-12667-AJG                                                                 Trustee:       (521090)      Alan Nisselson, Trustee
Case Name:       BAGBAG, BOAZ                                                             Filed (f) or Converted (c): 07/10/08 (f)
                                                                                          §341(a) Meeting Date:        08/14/08
Period Ending: 10/10/11                                                                   Claims Bar Date:             08/12/09

                              1                                          2                           3                       4                    5                    6

                    Asset Description                                Petition/             Estimated Net Value           Property            Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)                  Unscheduled        (Value Determined By Trustee,     Abandoned            Received by      Administered (FA)/
                                                                      Values             Less Liens, Exemptions,        OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)           DA=§554(c)                            Remaining Assets

                37. On June 6, 2011, Maltz filed a Report of Sale of the Auction. (Doc. No. 115).




                38.   On October 7, 2011, the Trustee prepare his Final Report and Account.

     Initial Projected Date Of Final Report (TFR):     December 30, 2011                    Current Projected Date Of Final Report (TFR):       October 7, 2011 (Actual)




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                                                                                                                                                                                      Exhibit B


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                                                            Cash Receipts And Disbursements Record
Case Number:           08-12667-AJG                                                                      Trustee:            Alan Nisselson, Trustee (521090)
Case Name:             BAGBAG, BOAZ                                                                      Bank Name:          The Bank of New York Mellon
                                                                                                         Account:            9200-******49-65 - Money Market Account
Taxpayer ID #:         **-***3208                                                                        Blanket Bond:       $94,140,000.00 (per case limit)
Period Ending: 10/10/11                                                                                  Separate Bond: N/A

    1            2                              3                                       4                                                5                     6                  7

 Trans.     {Ref #} /                                                                                                                Receipts        Disbursements           Money Market
  Date      Check #             Paid To / Received From                   Description of Transaction                T-Code              $                  $                Account Balance
05/23/11       {7}           David R. Maltz Co., Inc.            Gross sale proceeds from sale of Rolex watch       1129-000              1,750.00                                    1,750.00
06/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                    1,750.01
06/30/11      1001           International Sureties, Ltd.        BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                         1.29             1,748.72
                                                                 BALANCE AS OF 06/30/2011 FOR CASE
                                                                 #08-12667, Bond # 016030120 for 6/19/11 to
                                                                 6/1912
07/29/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                    1,748.73
08/31/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                    1,748.74
08/31/11                     The Bank of New York Mellon         Bank and Technology Services Fee                   2600-000                                        25.00             1,723.74
09/30/11         Int         The Bank of New York Mellon         Interest posting at 0.0100%                        1270-000                  0.01                                    1,723.75
09/30/11                     The Bank of New York Mellon         Bank and Technology Services Fee                   2600-000                                        25.00             1,698.75

                                                                                      ACCOUNT TOTALS                                      1,750.04                  51.29          $1,698.75
                                                                                               Less: Bank Transfers                           0.00                   0.00
                                                                                      Subtotal                                            1,750.04                  51.29
                                                                                               Less: Payments to Debtors                                             0.00
                                                                                      NET Receipts / Disbursements                       $1,750.04                 $51.29

                                    Net Receipts :           1,750.04
                                                        ————————                                                                           Net             Net                     Account
                                      Net Estate :          $1,750.04                 TOTAL - ALL ACCOUNTS                               Receipts     Disbursements                Balances

                                                                                      MMA # 9200-******49-65                              1,750.04                  51.29             1,698.75

                                                                                                                                         $1,750.04                 $51.29          $1,698.75




{} Asset reference(s)                                                                                                                             Printed: 10/10/2011 10:01 AM         V.12.57
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                               Claims Bar Date: August 12, 2009

Case Number: 08-12667-AJG                                             Page: 1                                                 Date: October 10, 2011
Debtor Name: BAGBAG, BOAZ                                                                                                     Time: 10:02:02 AM
Claim #   Creditor Name & Address                      Claim Type    Claim Ref. No. / Notes           Amount Allowed            Paid to Date   Claim Balance

          Alan Nisselson, Trustee                      Admin Ch. 7                                               $437.51               $0.00          437.51
200       156 West 56th St.
          New York, NY 10019
          Alan Nisselson, Trustee                      Admin Ch. 7                                             $1,151.05               $0.00        1,151.05
200       156 West 56th St.
          New York, NY 10019
          Windels Marx Lane & Mittendorf, LLP          Admin Ch. 7                                             $1,000.00               $0.00        1,000.00
200       156 West 56th St.
          New York, NY 10019
          Windels Marx Lane & Mittendorf, LLP          Admin Ch. 7                                               $647.75               $0.00          647.75
200       156 West 56th St.
          New York, NY 10019
          David R. Maltz & Co., Inc., Auctioneers      Admin Ch. 7                                               $175.00               $0.00          175.00
200       155 Terminal Drive
          Plainview, NY 11803
          David R. Maltz & Co., Inc., Auctioneers      Admin Ch. 7                                                $99.36               $0.00           99.36
200       155 Terminal Drive
          Plainview, NY 11803

6         GMAC                                         Secured                                                     $0.00               $0.00            0.00
100       P.O. Box 130424                                            The Trustee did not liquidate property forming basis of claim.
          Roseville, MN 55113

7         GMAC                                         Secured                                                     $0.00               $0.00            0.00
100       P.O. Box 130424                                            The Trustee did not liquidate property forming basis of claim.
          Roseville, MN 55113

8         GMAC                                         Secured                                                     $0.00               $0.00            0.00
100       P.O. Box 130424                                            The Trustee did not liquidate property forming basis of claim.
          Roseville, MN 55113
19        B&N Realty Holding Corp.                     Secured                                                     $0.00               $0.00            0.00
100       Bondi & Iovino                                             The Trustee did not liquidate property forming bais of lien.
          1055 Franklin Avenue, Suite 206
          Garden City, NY 11530

1         Asher Alcobi                                 Unsecured                                          $1,000,000.00                $0.00     1,000,000.00
610       c/o Law Office of Robert J. Gumenick, PC
          160 Broadway,Suite 1100
          New York, NY 10038

2         Uzi Evron                                    Unsecured                                             $86,720.00                $0.00       86,720.00
610       Attn: Bruce Lederman
          567 Broadway
          Massapequa, NY 11758
3         Roni Aboudi                                  Unsecured                                             $86,720.00                $0.00       86,720.00
610       c/o Law Office of Robert J. Gumenick, PC
          160 Broadway,Suite 1100
          New York, NY 10038
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                                                            EXHIBIT C
                                                     ANALYSIS OF CLAIMS REGISTER                    Claims Bar Date: August 12, 2009

Case Number: 08-12667-AJG                                            Page: 2                                      Date: October 10, 2011
Debtor Name: BAGBAG, BOAZ                                                                                         Time: 10:02:02 AM
Claim #   Creditor Name & Address                      Claim Type   Claim Ref. No. / Notes   Amount Allowed        Paid to Date   Claim Balance

4         122 Street Slash, LLC                        Unsecured                                  $75,000.00              $0.00       75,000.00
610       c/o Law Office of Robert J. Gumenick, PC
          160 Broadway,Suite 1100
          New York, NY 10038

5         North Fork Bank (Capital One)                Unsecured                                 $200,000.00              $0.00      200,000.00
610       Attn: Howard Jaslow, Esq.
          1065Avenue of the Americas
          New York, NY 10018

9         JPMorgan Chase Bank, NA                      Unsecured                                 $294,779.37              $0.00      294,779.37
610       Attn: Recovery AZ1-1004
          201 North Central Avenue, Floor 17
          Phoenix, AZ 85004-0073
10        Prime Automotive Parts Co., Inc.             Unsecured                                 $104,175.70              $0.00      104,175.70
610       c/o Paul S. Groschadl, Esq.
          700 Crossroads Building
          Rochester, NY 14614

11        Honeywell, Inc.                              Unsecured                                 $372,693.85              $0.00      372,693.85
610       39 Old Ridgebury Road
          Danbury, CT 06810

12        Pace Auto Parts, Inc.                        Unsecured                                 $271,029.00              $0.00      271,029.00
610       10 Park Avenue, Suite 2A
          New York, NY 10016
13        Summa Capital Corp.                          Unsecured                                $1,697,183.91             $0.00     1,697,183.91
610       350 Fifth Avenue, Suite 7612
          New York, NY 10118

14        American Express Centurion Bank              Unsecured                                   $3,866.27              $0.00        3,866.27
610       c/o Becket and Lee LLP
          POB 3001
          Malvern, PA 19355-0701

15        American Express Bank FSB                    Unsecured                                     $138.67              $0.00          138.67
610       c/o Becket and Lee LLP
          POB 3001
          Malvern, PA 19355-0701

16        American Express Centurion Bank              Unsecured                                  $45,347.96              $0.00       45,347.96
610       c/o Becket and Lee LLP
          POB 3001
          Malvern, PA 19355-0701
17        American Express Bank FSB                    Unsecured                                      $49.88              $0.00           49.88
610       c/o Becket and Lee LLP
          POB 3001
          Malvern, PA 19355-0701

18        Health Net                                   Unsecured                                  $16,609.70              $0.00       16,609.70
610       Collections Department
          One Far Mill Crossing
          Shelton, CT 06484
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                                                     EXHIBIT C
                                              ANALYSIS OF CLAIMS REGISTER                              Claims Bar Date: August 12, 2009

Case Number: 08-12667-AJG                                     Page: 3                                                 Date: October 10, 2011
Debtor Name: BAGBAG, BOAZ                                                                                             Time: 10:02:02 AM
Claim #   Creditor Name & Address               Claim Type   Claim Ref. No. / Notes           Amount Allowed           Paid to Date      Claim Balance

20        NYS Department of Tax & Finance       Unsecured                                                  $0.00               $0.00               0.00
620       Bankruptcy Section                                 Unallowable claim for post-pettion date state taxes not incurred by the estate.
          P.O. Box 5300
          Albany, NY 12205

<< Totals >>                                                                                       4,257,824.98                 0.00       4,257,824.98
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                                 TRUSTEE'S PROPOSED DISTRIBUTION

                                                                                                         Exhibit D

            Case No.: 08-12667-AJG
            Case Name: BAGBAG, BOAZ
            Trustee Name: Alan Nisselson, Trustee
                                                Balance on hand:                          $             1,698.75
              Claims of secured creditors will be paid as follows:

Claim         Claimant                                Claim Allowed Amount Interim Payments              Proposed
No.                                                 Asserted       of Claim          to Date             Payment
                                                       None
                                                Total to be paid to secured creditors:    $                 0.00
                                                Remaining balance:                        $             1,698.75

              Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments          Proposed
                                                                                        to Date         Payment
Trustee, Fees - Alan Nisselson, Trustee                                 437.51                0.00          211.71
Trustee, Expenses - Alan Nisselson, Trustee                           1,151.05                0.00          556.97
Attorney for Trustee, Fees - Windels Marx Lane &                      1,000.00                0.00          483.88
Mittendorf, LLP
Attorney for Trustee, Expenses - Windels Marx Lane &                    647.75                0.00          313.43
Mittendorf, LLP
Auctioneer Fees - David R. Maltz & Co., Inc., Auctioneers               175.00                0.00           84.68
Auctioneer Expenses - David R. Maltz & Co., Inc.,                        99.36                0.00           48.08
Auctioneers
                            Total to be paid for chapter 7 administration expenses:       $             1,698.75
                            Remaining balance:                                            $                 0.00

              Applications for prior chapter fees and administrative expenses have been filed as follows:
Reason/Applicant                                              Total Requested Interim Payments          Proposed
                                                                                        to Date         Payment
                                                       None
                            Total to be paid for prior chapter administrative expenses:   $                 0.00
                            Remaining balance:                                            $                 0.00




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              In addition to the expenses of administration    of 14
                                                            listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
                                                        None
                                                  Total to be paid for priority claims:      $                    0.00
                                                  Remaining balance:                         $                    0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 4,254,314.31 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments             Proposed
No                                                                    of Claim          to Date            Payment
  1            Asher Alcobi                                        1,000,000.00                  0.00               0.00
  2            Uzi Evron                                               86,720.00                 0.00               0.00
  3            Roni Aboudi                                             86,720.00                 0.00               0.00
  4            122 Street Slash, LLC                                   75,000.00                 0.00               0.00
  5            North Fork Bank (Capital One)                         200,000.00                  0.00               0.00
  9            JPMorgan Chase Bank, NA                               294,779.37                  0.00               0.00
 10            Prime Automotive Parts Co., Inc.                      104,175.70                  0.00               0.00
 11            Honeywell, Inc.                                       372,693.85                  0.00               0.00
 12            Pace Auto Parts, Inc.                                 271,029.00                  0.00               0.00
 13            Summa Capital Corp.                                 1,697,183.91                  0.00               0.00
 14            American Express Centurion Bank                          3,866.27                 0.00               0.00
 15            American Express Bank FSB                                  138.67                 0.00               0.00
 16            American Express Centurion Bank                         45,347.96                 0.00               0.00
 17            American Express Bank FSB                                   49.88                 0.00               0.00
 18            Health Net                                              16,609.70                 0.00               0.00
                              Total to be paid for timely general unsecured claims:          $                    0.00
                              Remaining balance:                                             $                    0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

               Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments               Proposed
No                                                                    of Claim          to Date              Payment
 20            NYS Department of Tax & Finance                              0.00                0.00              0.00
                             Total to be paid for tardy general unsecured claims:           $                  0.00
                             Remaining balance:                                             $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments               Proposed
No                                                                    of Claim          to Date              Payment
                                                        None
                                                 Total to be paid for subordinated claims: $                   0.00
                                                 Remaining balance:                        $                   0.00




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